                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION


UNITED STATES OF AMERICA                            )
                                                    )
v.                                                  )      NO. 3:11-00194
                                                    )      JUDGE CAMPBELL
JESSIE LEE ALLEN                                    )


                                            ORDER

       Defendant Allen has filed a Notice Of Intent To Enter A Plea Of Guilty (Docket No.

800). The Court will hold a change of plea hearing for Defendant Allen on September 28, 2012,

at 9:00 a.m. Any plea agreement shall be provided to the Court in advance of the hearing.

       All pending motions filed by Defendant Allen are DENIED, as moot. Any Defendant

who joined in those motions will need to file their own motions.

       It is so ORDERED.

                                                    ____________________________________
                                                    TODD J. CAMPBELL
                                                    UNITED STATES DISTRICT JUDGE




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